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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.


 DUKE REALTY LIMITED PARTNERSHIP,

        Plaintiff,

 v.

 DRIED INGREDIENTS, LLC

       Defendant.
 _______________________________________/



                                          COMPLAINT


        Plaintiff DUKE REALTY LIMITED PARTNERSHIP (“Duke”), by and through the

 undersigned attorneys, hereby asserts the following complaint against Defendant DRIED

 INGREDIENTS, LLC (“Dried Ingredients”) for damages, and states as follows:

                                       INTRODUCTION

        1.      This is an action to recover damages by Duke, as the landlord of commercial

 property located in Miami-Dade County Florida against Dried Ingredients for Dried Ingredients’

 failure to pay amounts due and owing pursuant to a lease agreement between the parties.

                                            PARTIES

        2.      Plaintiff, is and was, at all times material hereto, an Indiana limited partnership

 with its principal place of business in Indiana. Duke Realty Corporation, an Indiana corporation,

 is Plaintiff’s General Partner and there are no general or other limited participants of Duke

 domiciled in Florida.

        3.      Defendant, is and was, at all times material hereto, a Florida limited liability
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 company with its principal place of business in Florida. Upon information and belief, the sole

 member and owner of Dried Ingredients is Armin K. Dilles. Armin K. Dilles upon information

 and belief is a citizen of Florida.

                                   JURISDICTION AND VENUE

         4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 and

 § 1367 because the amount in controversy exceeds Seventy Five Thousand and 00/100 Dollars

 ($75,000.00), exclusive of interest and costs, and because there is complete diversity of

 citizenship between Duke and Dried Ingredients.

         5.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C.

 § 1391(b)(1) and 28 U.S.C. § 1391(b)(1) because this Action is brought in the judicial district

 where Dried Ingredients is located and a substantial part of the events giving rise to the claim

 raised in this Complaint occurred in the Sothern District of Florida.

                                       GENERAL ALLEGATIONS

          6.     On or about September 12, 2018 Duke as Landlord entered in to a commercial

 lease with Dried Ingredients. A true and correct copy of the September 12, 2018 lease is

 attached hereto as Exhibit “A.”

          7.     On October 8, 2018 the Parties entered into a First Amendment To Lease. A true

 and correct copy of the First Amendment to Lease is attached hereto as Exhibit “B.” Collectively

 the September 12, 2018 lease and the First Amendment to the Lease will be referred to as the

 “Lease.”

          8.     Pursuant to the terms of the Lease, Dried Ingredients is obligated to timely pay

 rent and operating expenses due under the Lease.

          9.     As of December, 2020 Dried Ingredients failed to pay Duke rent and operating

 expenses totaling the sum of $131,701.64.
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          10.    Pursuant to Section 13.01(a) of the Lease, Dried Ingredients is afforded five days

 after such rent or operating expenses was due prior to Dried Ingredients being considered in

 default of the Lease. See Exhibit “A.”

          11.    Dried Ingredients failed to pay the rent and operating expenses owed within five

 days of such amounts coming due.

          12.    Section 13.02(f) of the Lease affords Duke the ability to sue “to recover damages

 for any loss resulting from the Default.” See Exhibit “A.”

          13.    Duke has retained the law firm of Greenspoon Marder LLP to represent it in this

 matter and is obligated to pay them a reasonable fee. Pursuant to Section 13.06 of the Lease,

 Duke is entitled to be reimbursed its reasonable attorney’s fees and costs incurred in bringing

 this action.

          14.    All conditions precedent to bringing this action have occurred or been waived.

                                         COUNT I
                                    BREACH OF CONTRACT

         15.     Duke realleges and incorporates the allegations contained in paragraphs 1 through

 14 as if fully set forth herein.

         16.     This is an action for damages arising out of Dried Ingredients breach of the Lease.

         17.     Duke is the landlord of the Lease and Dried Ingredients is the tenant.

         18.     Dried Ingredients failed to pay, when due, rent and operating expenses that have

 been due and owing since March 2020 with more amounts becoming due and owing each month.

         19.     Based on Dried Ingredients failure to pay the ongoing rent and operating

 expenses, Dried Ingredients is in default of the Lease.

         20.     As a direct and proximate result of Dried Ingredients material breach and refusal

 to comply with the terms and conditions of the Lease, Duke has been damaged in an amount

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 greater than Seventy Five Thousand and 00/100 Dollars ($75,000.00), exclusive of post-

 judgment interest, attorneys’ fees, and costs.

        WHEREFORE, Plaintiff, Duke demands judgment against Dried Ingredients for the past

 due amounts under the Lease, as well as for attorney’s fees and costs, and for such other relief in

 favor of Duke as the court deems just and proper.



 Dated: December 21, 2020                         Respectfully submitted,

                                                  GREENSPOON MARDER, P.A.

                                                  By:    /s/ Beth-Ann E. Krimsky
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                                                  Attorney for    Plaintiff   Duke   Realty   Limited
                                                  Partnership




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